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          Exhibit 6
            Case 6:20-cv-00369-ADA Document 1-6 Filed 05/07/20 Page 2 of 15
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                                                                                                     US007450507B2


c12)    United States Patent                                                      (IO)   Patent No.:                   US 7,450,507 B2
        Tundlam et al.                                                            (45)   Date of Patent:                        Nov. 11, 2008

(54)    HIERARCHAL RATE-LIMITING AT A                                          (56)                      References Cited
        NETWORK NODE THAT UTILIZES AN
        INFINITY RATE-LIMIT CHECK                                                               U.S. PATENT DOCUMENTS
                                                                                    6,046,980   A    *    4/2000   Packer ........................ 370/230
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                   (US); Eric Anderson, Palo Alto, CA                               6,744,767   Bl   *    6/2004   Chiu et al. ............. 370/395.21
                   (US); Apurva Mehta, Cupertino, CA                                6,868,065   Bl   *    3/2005   Kloth et al. ................. 370/236
                   (US); Ajay Gaonkar, Sunnyvale, CA                                6,999,420   Bl   *    2/2006   Chiu et al. .................. 370/231
                   (US)                                                             7,042,848   B2   *    5/2006   Santiago et al. ............. 370/253
                                                                                2002/0089929    Al        7/2002   Tallegas et al.
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                                                                                            FOREIGN PATENT DOCUMENTS
                      NJ (US)
                                                                               WO           WO 02/21773 A2           3/2002
( *)    Notice:       Subject to any disclaimer, the term ofthis
                      patent is extended or adjusted under 35                  * cited by examiner
                      U.S.C. 154(b) by 1009 days.
                                                                               Primary Examiner-Wing          F. Chan
(21)    Appl. No.: 10/369,432                                                  Assistant Examiner-Due         T Duong

(22)    Filed:        Feb.19,2003                                              (57)                        ABSTRACT

(65)                     Prior Publication Data                                Rate-limiting a traffic stream using a rate-limit hierarchy
                                                                               involves subjecting a packet to a first rate-limit check, the first
        US 2003/0227872 Al              Dec. 11, 2003                          rate-limit check corresponding to a first-level traffic classifi-
                                                                               cation, subjecting the packet to a second rate-limit check and
                  Related U.S. Application Data                                an infinity rate-limit cheek, the second rate-limit check and
(60)    Provisional application No. 60/386,646, filed on Jun.                  the infinity rate-limit check corresponding to a second-level
        5, 2002.                                                               traffic classification, granting an automatic pass to the packet
                                                                               from the infinity rate-limit check regardless of whether or not
(51)    Int. Cl.                                                               the packet passes the second rate-limit check, and granting an
        H04L 12126                   (2006.01)                                 overall pass of the rate-limit hierarchy if the packet passes the
(52)    U.S. Cl. ....................... 370/232; 370/235; 370/252;            first rate- limit check. In an embodiment, the first- level traffic
                                                                709/225        classification is a parent classification of the second-level
( 58)   Field of Classification Search . ... ... ... ... .. .. 3 70/229,       traffic classification and the second-level traffic classification
          370/230, 230.1, 231-235, 252, 253; 709/223-229,                      is a child classification of the first-level traffic classification.
                                                                709/232
        See application file for complete search history.                                       20 Claims, 7 Drawing Sheets



                                            Subjecta packetto a first rate-limitcheck,the
                                              first rate-limitcheckcorresponding   to a
                                                    first-leveltrafficclassification

                                                                           l                                \___1010
                                       Subjectthe packetto a secondrate-limitcheckand
                                      an infinityrate-limitcheck,the secondrate-limitcheck
                                       and the infinityrate-limitcheckcorrespondingto a
                                                 second-leveltrafficclassification
                                                                           l                                \___1020
                                      Grantan automaticpass to the packetfromthe infinity
                                      rate-limitcheckregardlessof whetheror not the packet
                                                 passesthe secondrate-limitcheck

                                                                           l                                \__1030
                                          Grantan overallpass of the rate-limithierarchy
                                           if the packetpassesthe first rate-limitcheck
                                                                                                            \___
                                                                                                               1040
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                         A        .-----    RA (Pass or Fail)
      FIG. 1                         (no borrowing)
     (PRIORART)
                         B-~~-              RB (Fail)




                        Classification                      R4 (Port)
                          Engine ~IPI
                                                            R3 (IPSubnet)
      FIG. 3


      FIG. 4


                  Intermediate                    Overall
           R3 Rc:o Result      R4                 Result
              p   p          p         p           p
              p   p          p         F           F
              F   p          p         p           p        ..-Borrowing
              F   p          p         F           F

                             FIG. 5
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                                     P = Port        1 Gbps
                                     Q = IP Subnet   500 Mbps                   d
                                                                                r.,;_
                                     R = Protocol    100 Mbps                   -....l
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                                     S = Socket      20 Mbps                    UI
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FIG. 2                                                                          =
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                       Classification
                         Engine      i----------..1   Port-   R4 (Port)


   FIG. 6A

                       Classification                         R4 (Port)
                         Engine ~ IPl
                                                              R3 (IPSubnet)
   FIG. 6B

                                                              R4 (Port)
                       Classification
                         Engine ....-----TCP-                 R3 (IPSubnet)

                                                              R2 (Protocol)
   FIG. 6C

                                                              R4 (Port)

                        Classification                        R3 (IPSubnet)
                          Engine                      FTP
                                                              R2 (Protocol)
   FIG. 6D                                                    R1 (Socket)
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   p                                    --   R4


  Q                                     --   R3        -...   Rco3



   R                                    - R2
                                        ~



                                                       -.     Roo2



   s                                    --
                                             R1        ~


                                                              Rco1



                           FIG. 7
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                                                                                    ~
                                                                                    ~
                                                                      Overall       ~
                                                                                    ~
     Rcol
            Intermediate Rco Intermediate
R3            Result1 R2    2 Result2   R3   Roo3 IntermediateR4
                                                    Result3           Result        ~
                                                                                    =
F     p          p      F p       p      F    p        p       p   Pass/Borrowing
p     p          p      F p       p      F    p        p       p   Pass/Borrowing   z
                                                                                    0
p     p          p      p p       p           p        p       p                    ~
                                         F                         Pass/Borrowing   ....
                                                                                    ....
                                                                                    ~



p     p          p      p p       p      p   p        p       p                     N
                                                                   Pass/Borrowing   0
                                                                                    0
                                                                                    QO
F     p          p      p p       p      F   p        p       p    Pass/Borrowing
F     p          p      p p       p      p   p        p       p    Pass/Borrowing   rJJ
                                                                                    ('D
                                                                                    =-
p     p          p      p p       p          p        p       p                     ('D
                                         F                         Pass/Borrowing   .....
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                                                                                    -....J

•     •        •      •   •      •      •     •       •       •
•     •        •      •   •      •      •     •       •       •
F     p        p      F   p      p      p    p        p       p    Pass/Borrowing
p     p                                                                             d
                                                                                    r.,;_
               p      F   p      p      p    p        p       p    Pass/Borrowing   -....l
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                                     FIG. 8                                         =
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                          Rule             •                 Hierarchial
                    -   Selection                                          ..,.,
-- Classification
     Engine                                •                   Rule            P/F   rJJ
                         Engine                                                      ('D
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                                          Level-  P/F
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              FIG. 9                                                                  =
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             -------32-bit                       -------i



              V p C          Rule IDp        V p C          Rule IDQ

              V p C          Rule IDR        V p C          Rule IDs

   1-bit
                      ~13-bit----.j
   1-bit
   1-bit
                                      FIG. 10

               Subjecta packetto a first rate-limitcheck,the
                 first rate-limitcheckcorresponding   to a
                       first-leveltrafficclassification
                                                                \__1010
                                        '~

            Subjectthe packetto a secondrate-limitcheckand
           an infinityrate-limitcheck,the secondrate-limitcheck
             and the infinityrate-limitcheckcorrespondingto a
                      second-leveltrafficclassification
                                                                \__1020
           Grantan automaticpass to the packetfrom the infinity
           rate-limitcheckregardlessof whetheror not the packet
                      passesthe secondrate-limitcheck
                                                                \__1030
                                        '
              Grantan overallpass of the rate-limithierarchy
               if the packetpassesthe first rate-limitcheck
                                                                \_
                                                                     1040
                                      FIG. 11
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        HIERARCHAL RATE-LIMITING AT A                                      credits causes additional latency for the traffic and/or addi-
        NETWORK NODE THAT UTILIZES AN                                      tional complexity in hardware to make the credit updates
          INFINITY RATE-LIMIT CHECK                                        happen at the desired speeds.
                                                                              FIG. 1 is a functional depiction of a conventional rate-
            CROSS REFERENCE TO RELATED                                5    limiting hierarchy that is implemented in hardware using for
                    APPLICATION                                            example, credit buckets. In the functional depiction of FIG. 1,
                                                                           traffic classification Bis rate-limited by rate-limit rule RB and
  This application is entitled to the benefit of provisional               traffic classification A is rate-limited by rate-limit rule RA.
Patent Application Ser. No. 60/386,646, filed Jun. 5, 2002.                Traffic classification A is related to traffic classification B in
                                                                      10   that traffic classification A is a parent (more broad) classifi-
                FIELD OF THE INVENTION                                     cation with respect to traffic classification B (a child classifi-
                                                                           cation). Traffic in class B must pass both rate-limit checks, i.e.
   The invention relates to hierarchal rate-limiting at a net-             RA and RB, before the traffic can receive an overall pass. If a
work node, and more particularly to hierarchal rate-limiting               packet fails rate-limit rule RB, then the packet fails the overall
at a network node that utilizes an infinity rate-limit check.         15   rate check regardless of the outcome of the RA check. That is,
                                                                           regardless of whether or not there is bandwidth available in
          BACKGROUND OF THE INVENTION                                      traffic classification A that could be borrowed by traffic in
                                                                           traffic classification B, the traffic in traffic classification B will
    Hierarchal rate-limiting is used to control the flow of traffic        not pass the overall rate check if the packet fails RB. There-
streams at a network node by subjecting a traffic stream to           20   fore, without the availability to borrow available bandwidth
more than one rate-limit check. The number of rate-limit                   from parent traffic classifications, hierarchal rate- limiting
checks that a traffic stream is subject to typically depends on            schemes face severe performance limitations. While it may be
the number of classifications to which the traffic stream                  possible to design complex hardware logic to achieve bor-
belongs. For example, an Hypertext Transport Protocol                      rowing, complex hardware logic is not efficient in terms of
(HTTP) traffic stream (i.e., a WEB traffic stream) between a          25   chip real estate and processing resources.
WEB server and a WEB browser can be classified as 'WEB'                       Therefore, in view of the need for efficient hierarchal rate-
traffic based upon its Transmission Control Protocol (TCP)                 limiting, a hardware-based bandwidth borrowing scheme is
port number. The HTTP traffic stream can also be classified as             needed.
TCP traffic based upon its Internet Protocol (IP)-protocol
type. Thirdly, the HTTP traffic stream can also be classified as      30                SUMMARY OF THE INVENTION
belonging to a specific IP-subnet based upon its source and/or
destination IP addresses. Additional classifications for the                  A technique for rate-limiting a traffic stream using a rate-
same traffic stream are also possible, such as those based on              limit hierarchy involves utilizing infinity rate limiting rules at
the physical incoming or outgoing port of the traffic, the Type            child classification levels to allow borrowing of available
of Service (TOS), Layer 2 (L2)-fields, etc.                           35   bandwidth from a rate-limit rule in a parent classification. The
    In a hierarchal rate- limiting scheme, the traffic stream in           infinity rate-limit rules at the child classification levels grant
question must satisfy rate-limit checks for all the classifica-            an automatic "pass" at each child classification level regard-
tions that the traffic stream falls under in order for the traffic         less of the outcome of the actual rate-limit check of the child
to be deemed as having passed the overall rate check. The                  classification level. As a result of the automatic passes at each
overall rate check is the sunmiation of all of the rate-limit         40   child classification, a packet is granted an overall pass if the
checks in a given hierarchy. For example, WEB traffic and                  packet passes the rate-limit check at the parent classification
FTP traffic may fall under separate WEB-specific and FTP-                  level.
specific classifications, while also falling under a more                     An embodiment of a method for rate-limiting a traffic
generic TCP classification. In this case, if there are separate            stream using a rate-limit hierarchy involves subjecting a
rate-limit checks for WEB traffic, FTP traffic, and TCP traffic,      45   packet to a first rate- limit check, the first rate- limit check
then the WEB and FTP traffic must pass their own respective                corresponding to a first-level traffic classification, subjecting
rate-limit checks as well as the TCP rate limit check to be                the packet to a second rate- limit check and an infinity rate-
deemed as having passed the overall check.                                 limit check, the second rate-limit check and the infinity rate-
    Problems with the hierarchal rate-limiting scheme are                  limit check corresponding to a second-level traffic classifica-
encountered when a certain classification of traffic is over-         50   tion, granting an automatic pass to the packet from the infinity
subscribed. In software, it is possible to provide for oversub-            rate-limit check regardless of whether or not the packet passes
scription of certain classifications of traffic such that when a           the second rate-limit check, and granting an overall pass of
classification exceeds its own rate limit, the classification is           the rate-limit hierarchy if the packet passes the first rate-limit
permitted to borrow available bandwidth from the allocated                 check. In an embodiment of the method, the first-level traffic
rate limit of their parent classification. A parent classification    55   classification is a parent classification of the second-level
is the next higher level traffic classification in a rate-limiting         traffic classification and the second-level traffic classification
hierarchy. While this type of borrowing is relatively easy to              is a child classification of the first-level traffic classification.
implement in software, it is much more difficult to efficiently               An embodiment of a system for rate-limiting a traffic
perform the same operation in hardware. Implementing a                     stream using a rate-limit hierarchy includes a classification
rate-limiting borrowing scheme in hardware typically                  60   engine, a rule selection engine, first level-specific rule logic,
requires a "series plus parallel" check on two rate-limit buck-            second level-specific rule logic, and hierarchal rule logic. The
ets. A difficulty with implementing series plus parallel checks            classification engine is configured to identify a traffic classi-
in hardware is that a check on one bucket depends on the pass              fication of a packet. The rule selection engine is configured to
or fail of the other bucket. Hardware would need to go back-               identify rules that apply to the traffic classification identified
wards (in time) to update credits for the other parallel check        65   by the classification engine. The first level-specific rule logic
depending on whether the current parallel check succeeded or               is configured to subject the packet to a first rate-limit rule, the
not. In most cases, making hardware go backwards to update                 first rate-limit rule selected by the rule selection engine, the
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                                3                                                                          4
first rate-limit rule corresponding to a first-level traffic clas-            FIG. 10 depicts an embodiment of a rule selection element
sification, and wherein the first level-specific rule logic deter-         that is stored in a hardware-based rule selection table in
mines an intermediate result for the packet at the first-level             accordance with an embodiment of the invention.
traffic classification in response to results of the first rate-              FIG. 11 is a flow diagram of an embodiment of a method
limit. The second level-specific rule logic is configured to          5    for rate-limiting a traffic stream using a rate-limit hierarchy at
subject the packet to a second rate-limit rule, the second rate            a network node, according to an embodiment of the invention.
limit rule selected by the rule selection engine, the second
rate-limit rule corresponding to a second-level traffic classi-                DETAILED DESCRIPTION OF THE INVENTION
fication, wherein the second level-specific rule logic further
comprises an infinity rate-limit rule logic, the infinity rate-       10      FIG. 2 is an example of a traffic classification hierarchy
limit rule logic granting an automatic pass to the packet in the           suitable to be used for hierarchal rate-limiting, according to
second-level traffic classification regardless of whether or not           an embodiment of the invention. In the example depicted in
the packet passes the second rate-limit rule, and wherein the              FIG. 2, there are four traffic classification levels; P, Q, R, and
second level-specific rule logic determines an intermediate                S. The "P" level is the highest (i.e. most broad) level in the
result for the packet at the second-level traffic classification in   15   traffic classification hierarchy and corresponds to the port
response to results of the second rate-limit rule and results of           level, i.e., the physical port level. The "Q" level is the second
the infinity rate-limit rule logic. The hierarchal rule logic is           highest level (i.e., narrower than the highest level) in the
configured to determine an overall result of the rate-limit                traffic classification hierarchy and corresponds to the Internet
hierarchy in response to intermediate results determined by                Protocol (IP) subnet level. The "R" level is the third highest
the first and second level-specific rule logic.                       20   level (i.e., narrower than the second highest level) in the traffic
   Utilizing infinity rate-limit rules to allow borrowing of               classification hierarchy and corresponds to the protocol level.
bandwidth from an infinity rate-limit check enables more                   The "S" level is the fourth highest level (i.e., narrower than
efficient combinatorial rate limiting (i.e., for packets belong-           the third highest level) in the traffic classification hierarchy
ing to more than one classification of traffic) and enables                and corresponds to the socket level. The traffic classification
hierarchal rate-limiting to be implemented economically,              25   hierarchy described with reference to FIG. 2 is exemplary
efficiently, and with minimal packet latency in hardware.                  only. Other traffic classification hierarchies are also contem-
   Other aspects and advantages of the present invention will              plated.
become apparent from the following detailed description,                      Within a given traffic classification hierarchy, there is a
taken in conjunction with the accompanying drawings, illus-                relatedness between the various classification levels. The
trating by way of example the principles of the invention.            30   term "parent classification level" shall be used herein to
                                                                           describe a traffic classification level that is one level higher in
       BRIEF DESCRIPTION OF THE DRAWINGS                                   the traffic classification hierarchy than a "child classification
                                                                           level". For example, in the embodiment depicted with refer-
   FIG. 1 is a functional depiction of a conventional rate-                ence to FIG. 2, traffic classification level Pis a parent classi-
limiting hierarchy that is implemented in hardware using for          35   fication level with respect to traffic classification level Q, and
example, credit buckets.                                                   traffic classification level Q is a parent classification level
   FIG. 2 is an example of a traffic classification hierarchy              with respect to traffic classification level R. Similarly, traffic
suitable to be used for hierarchal rate-limiting, according to             classification level R is a parent classification level with
an embodiment of the invention.                                            respect to traffic classification level S. A packet that belongs
   FIG. 3 depicts an example of an incoming packet being              40   to a given traffic classification level, also belongs to the parent
given a traffic classification and rate-limiting rules being               classification level, if there is one, as well as any other higher
selected for all of the traffic classifications that pertain to the        level traffic classification levels (i.e., "grandparent" classifi-
incoming packet, according to an embodiment of the inven-                  cation levels, "great grandparent" classification levels, etc.) if
tion.                                                                      they exist. In FIG. 2, sets of parent and child classification
   FIG. 4 is a functional depiction of an example of a two-           45   levels are enclosed by the three smaller dashed ovals. The top
level rate-limiting hierarchy that utilizes an infinity rate-limit         dashed oval, "X", encloses the port and Internet Protocol (IP)
rule to allow the borrowing of available bandwidth from the                subnet (i.e., IP!) levels. The middle dashed oval, "Y",
parent classification according to an embodiment of the                    encloses the IP! level and the protocol level, which in this
invention.                                                                 case is Transmission Control Protocol (TCP). The bottom
   FIG. 5 is a table that represents possible outcomes of the         50   dashed oval, "Z", encloses the TCP level and the socket level,
rate-limiting operation described with reference to FIG. 4                 which in this case is File Transfer Protocol (FTP).
above, according to an embodiment of the invention.                           In the key depicted at the bottom of FIG. 2, example rate
   FIGS. 6A-6D are embodiments of four different packets                   limits are depicted for each of the four traffic classification
being independently classified and rate-limit rules for appli-             levels. The terms "overall rate-limit check" and "overall
cable traffic classifications being selected according to the         55   check" will be used herein to mean the summation ofall of the
functions described with reference to FIG. 3, according to an              rate-limit checks in a given rate-limiting hierarchy. The terms
embodiment of the invention.                                               "overall pass" and "overall fail" refer to passing and failing an
   FIG. 7 is a functional depiction of the rate-limit rules that           overall check, respectively. A rate-limit check is the applica-
are applied to the packet described with reference to FIG. 6D,             tion of a rate-limit rule to a packet. In an embodiment, in a
according to an embodiment of the invention.                          60   hierarchal rate-limiting scheme, an incoming packet must
   FIG. 8 is a table that represents a selection of possible               satisfy all of the rate-limit checks that apply to the packet in
outcomes of the rate-limiting operation described with refer-              order for the packet to pass the overall check. That is, if one of
ence to FIG. 7 above, according to an embodiment of the                    the rate-limit checks fails, then the packet receives an overall
invention.                                                                 fail.
   FIG. 9 depicts the functional elements of a system for             65      FIG. 3 depicts an example of an incoming packet being
implementing rate limiting using the above-described tech-                 given a traffic classification and rate-limiting rules being
niques, according to an embodiment of the invention.                       selected for all of the traffic classifications that pertain to the
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                                 5                                                                           6
incoming packet, according to an embodiment of the inven-                   traffic using the infinity rate-limiting rule, R=. As described
tion. In the embodiment depicted in FIG. 3, the packet is                   above, the infinity rate-limit rule grants an automatic pass to
classified as belonging to the class IP! by the classification              the packet at the child classification level. That is, regardless
engine. The traffic classification IP! corresponds to the traffic           of whether or not the packet passes rate-limiting rule R 3 , the
classification level Q (i.e., IP subnet level) of the traffic clas-    5    packet will receive a pass at the child classification level
sification hierarchy depicted in FIG. 2. The traffic classifica-            because the infinity rate-limit rule grants an automatic pass to
tion rules that pertain to the classified packet are selected as            the packet. Borrowing of credits from rate-limiting rule R4 so
the traffic classification rules that pertain to traffic classifica-        that the packet receives an overall pass is thus allowed if the
tion levels P and Q, as described with reference to FIG. 2,                 packet passes R4 (i.e., there is available bandwidth at the
because packets belonging to the child classification level Q          10   highest traffic classification level). In an embodiment, rate-
also belong to the parent classification level P. Therefore, with           limit checks are performed in parallel for all traffic classifi-
reference to the key depicted in FIG. 2, the particular rate-               cation levels.
limit rules that apply to the classified packet are that the traffic           FIG. 5 is a table that represents possible outcomes of the
at the IP subnet (IP!) level, Q, must not exceed 500 Megabits               rate-limiting operation described with reference to FIG. 4
per second and the overall traffic at the port level, P, must not      15   above, according to an embodiment of the invention. The
exceed 1 Gigabit per second.                                                table is read in rows from left to right. In the table, a "P"
   FIG. 4 is a functional depiction of an example of a two-                 represents a pass of the respective rate-limit check and an "F"
level rate-limiting hierarchy that utilizes an infinity rate-limit          represents a fail of the respective rate-limit check. Also in the
rule to allow the borrowing of available bandwidth from the                 table, "intermediate result" is the combined result for a child
parent classification according to an embodiment of the                20   or lower level traffic classification level, i.e. the intermediate
invention. The functional depiction includes R 3 and R= at the              result is the combined result of rate-limit rule R 3 and the
Q level and R4 at the P level. The symbol R= is used herein to              infinity rate-limit rule for traffic classification level Q. With
represent infinity rate-limit checks. In order to receive an                respect to the intermediate result, if either rate-limit rule R 3 or
overall pass, a packet must receive a pass at each traffic                  the infinity rate-limit rule results in a pass, then the interme-
classification level. If the packet does not receive a pass at a       25   diate result is a pass. The "overall result" colunm describes
given traffic classification level, then it will receive an overall         the ultimate outcome of the packet, i.e., whether it passes or
fail. The infinity rate-limit rule extends the life of the packet           fails the overall rate-limit check. In FIG. 8 below, like terms
so that the ultimate determination of whether or not to grant               and symbols to those used in FIG. 5 have similar meanings.
an overall pass to the packet is made in a higher classification               Referring FIG. 5, in the first row, the packet passes all of the
level than the traffic classification level in which the packet        30   rate-limit rules, so the overall result is a pass. In the second
did not receive a pass. That is, the infinity rate-limit rule               row, the packet passes both of the rate-limit rules of the child
grants an automatic pass to the packet at the child classifica-             classification level, R 3 and the infinity rate-limit rule, how-
tion level regardless of the outcome of the rate-limit check of             ever, it fails the parent classification level rate-limit rule R4 ,
the child classification level, i.e., R 3 • By granting an auto-            and therefore the overall result is a fail. In the third row, the
matic pass to the packet at the child classification level, the        35   packet fails rate-limit rule R 3 , but receives an automatic pass
infinity rate-limit rule enables available bandwidth to be bor-             from the infinity rate-limit rule. Therefore, the life of the
rowed from the parent classification level so that the packet               packet is extended because the intermediate result is a pass.
receives an overall pass, regardless of whether the packet                  Additionally, the packet receives a pass from the parent clas-
passed the rate-limiting rule of the child classification level.            sification level rate-limit rule R4 and the overall result is that
   In a hardware embodiment, the available bandwidth at the            40   the packet passes the overall rate-limit check. Because the
different classification levels is managed using "credit                    packet receives a pass from the rate-limit rule of the parent
bucket" algorithms. In a credit bucket algorithm, each credit               classification, i.e., R4 , bandwidth from the parent classifica-
provides permission to forward a certain number of bits                     tion level is consumed by (i.e., "borrowed from" by) traffic
within a network. A credit bucket holds credits for a particular            from the child classification level. Thus, the example depicted
class of network traffic and credits are added into the bucket         45   in the third row exhibits borrowing, as indicated by the word
at a specified rate. For example, a fixed number of credits are             "borrowing" to the right of the row. That is, although child
added to the credit bucket at fixed time intervals. To forward              classification level rate-limit rule R 3 resulted in a failure, due
a packet, a number of credits equal in bit size to the packet               to the automatic pass granted by the infinity rate-limit rule an
must be removed from the bucket. For example, if each credit                intermediate pass results and credits can be borrowed from
represents 1,000 bits then a packet of 100,000 bits will have          50   the parent classification level rate-limit rule R4 so that the
an equivalent credit value of 100 credits. If the number of                 packet receives an overall pass. In the fourth row, as in the
credits in the bucket is equal to or exceeds the credit require-            third, the packet fails rate-limit rule R 3 , but receives an auto-
ment of the packet, then the packet is forwarded. If, however,              matic pass from the infinity rate-limit rule. Therefore, the life
the number of credits in the bucket is below the credit require-            of the packet is extended because the intermediate result is a
ment of the packet, then the packet is either held until the           55   pass. However, the packet fails the parent classification level
bucket has enough credits to forward the packet or the packet               rate-limit rule R4 (no extra bandwidth available) and the result
is dropped. In an embodiment, borrowing a credit involves                   is that no borrowing is allowed, and the packet receives an
appropriating traffic forwarding capability ("available band-               overall fail as its overall result. Therefore, the example
width") from a higher traffic classification level rate-limit               depicted in the fourth row exhibits that although the infinity
rule. It should be appreciated that, although packet forward-          60   rate-limit rule granted an automatic pass to the packet at the
ing and dropping are discussed herein, the use of credit buck-              child classification level, the ultimate arbiter of whether the
ets can achieve rate-limiting in ways other than forwarding                 packet can be forwarded is the highest level rate-limit rule, in
and dropping packets, such as marking packets.                              this case, R4 .
   In the embodiment depicted in FIG. 4, level P, the parent                   In an embodiment, the rate-limit rules described herein
classification level, rate-limits traffic by rate-limiting rule R4 .   65   with reference to FIGS. 2-10 are implemented in hardware,
The child classification level, level Q, rate-limits traffic by             for example, using credit buckets. It is relatively easy to
rate-limiting rule R 3 • Child classification level Q also handles          implement the disclosed rate-limiting scheme in hardware
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because of the simplicity of storing and processing the results               arbiter of whether or not the packet passes the overall rate-
of the rate-limit checks. That is, in an embodiment, each                     limit check. An incoming packet will receive an automatic
rate-limit check yields a binary result, i.e., a "1" for a pass and           pass at traffic classification levels Q, R, and S due to the
a "O" for a fail. Additionally, each intermediate result is                   operation of the infinity rate-limit rules at traffic classification
binary. Therefore, the overall result is determined by a simple          5    levels Q, R, and S. However, at traffic classification level P,
evaluation of whether or not all of the intermediate results as               there is no automatic pass granted because there is no infinity
well as the rate-limit check of the highest traffic classification            rate-limit rule. Therefore, to receive a pass at traffic classifi-
level were a pass. If the evaluation yields all passes, then the              cation level P, the packet must pass rate-limit rule R4 . Further,
overall result is a pass. If the evaluation yields any fails, then            since, in a hierarchal rate-limiting scheme, a packet must
the overall result is a fail. In an embodiment, the individual           10   receive a pass at every traffic classification level in order to
rate-limit checks are all computed simultaneously (in paral-                  receive an overall pass, the packet must receive a pass at
lel) in hardware on a particular packet during what can be                    rate-limit rule R4 . If the packet does receive a pass at rate-
termed as a "first stage." The results of"first stage" checks are             limit rule R4 , then the lower level rate-limiting rules, i.e., R 3 ,
examined in what can be termed as a "second stage." In the                    R 2 , and Ri, are able to borrow credits from rate-limit rule R4
"second stage," a decision is made for the packet based on all           15   and the packet receives an overall pass. If the packet does not
the results obtained from the "first stage." Additional param-                receive a pass at rate-limit rule R4 , then the packet receives an
eters guide which of multiple passing rate-limit checks will                  overall fail. Where the packet fails the rate-limit rule of the
eventually contribute to deciding how to mark the packet (i.e.,               highest traffic classification level, no borrowing is allowed.
drop, mark etc.) in the "second stage."                                          FIG. 8 is a table that represents a selection of possible
    FIGS. 6A-6D are embodiments of four different packets                20   outcomes of the rate-limiting operation described with refer-
being independently classified and rate-limit rules for appli-                ence to FIG. 7 above, according to an embodiment of the
cable traffic classifications being selected according to the                 invention. The selections include only outcomes that result in
functions described with reference to FIG. 3. In each of the                  borrowing. In each of the rows of the table, the packet fails at
FIGS. 6A-6D, after the packet is classified by the classifica-                least one of the lower-level rate-limit checks and would there-
tion engine, i.e. given a traffic classification level, rate-limit       25   fore not have received an overall pass if the infinity rate-limit
rules for all of the traffic classification levels that pertain to the        rule had not granted an automatic pass to the packet to extend
packet are selected.                                                          the life of the packet. Nevertheless, the ultimate determina-
    FIG. 6A depicts an embodiment of an incoming packet                       tion of whether to allow the packet to be forwarded rests with
being classified in the port traffic classification level. Since, in          the highest traffic classification level rate-limit rule (i.e., R4 ).
the example traffic classification hierarchy depicted in FIG. 2,         30   Since the packet passed rate limit rule R4 in all of the selected
the port level is the highest level, only to rate-limiting rule R4 ,          cases depicted in the table of FIG. 8, borrowing is allowed and
which corresponds to the port level, is selected for the packet.              the packet receives an overall pass in each case. For example,
    FIG. 6B depicts an embodiment of an incoming packet                       in the first row, borrowing is allowed even though the packet
being classified in the IP subnet level, as IP 1, and the IP                  failed rate-limit rules R 1 , R 2 , and R 3 . That is, the packet failed
subnet level rate-limit rule R 3 as well as the port level rate-         35   rate-limit rules Ri, R 2 , and R 3 , but the corresponding infinity
limit rule R4 being selected for the packet. The port level                   rate-limit rules extended the life of the packet at each traffic
rate-limit rule R4 applies to the packet because the port level               classification level by granting automatic passes to the
is the parent classification level to the IP subnet level.                    packet. Therefore, the intermediate results "Int./', "Int. 2 ",
    FIG. 6C depicts an embodiment of an incoming packet                       and "Int. 3 " are all passes. Because the packet passes rate- limit
being classified in the protocol level as TCP. The protocol              40   rule R4 , borrowing is allowed so that the packet receives an
level rate-limit rule R 2 is selected for the packet. The IP                  overall pass. In an embodiment, only "passing" buckets have
subnet level rate-limit rule R 3 and the port level rate-limit rule           credits deducted. In the above case, where a packet fails R 1 ,
R4 are also selected for the packet, because the IP subnet level              R2 andR 3 , the buckets related to rate-limit rules Ri, R 2 andR 3
and the port level are parent and grandparent classification                  do not have credits deducted. Credits are deducted from the
levels, respectively, to the protocol level.                             45   infinity buckets corresponding to rate-limit rules Ri, R2 , and
    FIG. 6D depicts an embodiment of an incoming packet                       R 3 but, because the infinity bucket has an infinite rate, the
being classified in the socket level as FTP. The socket level                 credits are replenished immediately. In an embodiment, the
rate-limit rule R 1 is selected for the packet. The protocol level            only difference between a packet passing or failing an inter-
rate-limit rule R 2 the IP subnet level rate-limit rule R3 , and the          mediate rate-limit check is the resulting marking the packet
port level rate-limit rule R4 are also selected for the packet           50   gets. For example, it rate-limit rule R 1 passes its check then
because the protocol level, the IP subnet level and the port                  the resulting marking relates to rate- limit rule R 1 and if the
level are parent, grandparent, and great grandparent classifi-                rate-limit rule R 1 fails its check (and the infinity rate- limit rule
cation levels, respectively, to the protocol level.                           passes), then the resulting marking relates to the infinity
    FIG. 7 is a functional depiction of the rate-limit rules that             rate-limit rule.
are applied to the packet described with reference to FIG. 6D.           55      In the other examples exhibited in the rows of FIG. 8,
The functional depiction includes multiple infinity rate-limit                borrowing is allowed wherever a packet fails a rate-limit rule
rules to enable borrowing all the way up the rate-limiting                    due to the operation of the infinity rate-limit rules and also due
hierarchy in accordance with an embodiment of the invention.                  to the fact that all of the packets referenced in the table passed
The rate- limiting performed with respect to FIG. 7 operates in               the highest traffic classification level rate limit rule. Thus, the
the same manner as the rate- limiting performed with respect             60   result in each case is "pass/borrowing" as depicted in the
to FIG. 4, with the exception that FIG. 7 depicts a four level                "overall result" colunm. Borrowing enables those packets
rate-limiting hierarchy, as opposed to the two level rate-lim-                that pass the highest-level rate-limit check to receive an over-
iting hierarchy depicted in FIG. 4.                                           all pass, despite the failure of one or more lower level rate-
    In the embodiment depicted in FIG. 7, each traffic classi-                limit checks. Therefore, all of the packets referenced in the
fication level has an infinity rate-limit rule, except for the           65   table receive overall passes.
highest traffic classification level, level P. This means that the               FIG. 9 depicts the functional elements of a system for
rate-limit rule that pertains to level P, that is R4 , is the ultimate        implementing rate limiting using the above-described tech-
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niques, according to an embodiment of the invention. In an                with a choice of the manner in which the checks are to be
embodiment, the system is implemented in hardware, for                    done. By programming the list of buckets to include more
example in application specific integrated circuits (ASICs).              than one parallel "pairs" of buckets, with each pair including
The functional elements include a classification engine 910, a            a designated bucket and a corresponding Infinity bucket. The
rule selection engine 920, level-specific rule logic 930, and        5    "last" pair may or may not really be a "pair". In some cases,
hierarchal rule logic 940. In an embodiment, the classification           the packets that entirely fail the overall combined rate-limit
engine 910 classifies incoming traffic according to the opera-            check are passed by "pairing" the last bucket with an infinity
tions described with reference to FIGS. 3 and 6A-6D. The                  bucket. The packets are "passed," but with a "marking" that
classification engine may be implemented in hardware using,               essentially makes the packet 'lowest' priority, which may
for example, a content addressable memory (CAM). In the              10   eventually cause the packet to be dropped later within the
embodiment of FIG. 8, the output of the classification engine             system.
is a pointer into the rule selection engine. In an embodiment,               In an embodiment, the hierarchal rule logic 940 determines
the rule selection engine 920 identifies rules that apply to the          an overall result in response to the intermediate results from
classification of traffic that was determined by the classifica-          the various levels of level-specific rule logic. In an embodi-
tion engine. In an embodiment, the pointer output from the           15   ment, level-specific rule logic from each classification level
classification engine is used to index into a hardware-based              must return an intermediate result of a "pass" in order for the
rule selection table that includes multiple rule selection ele-           overall result to be a pass. This can be implemented in hard-
ments. In an embodiment, each rule selection element con-                 ware with the two simple "AND" logic. In sum, the hierarchal
tains a list of bucket indices that the packet must pass, along           rule logic implements the "second stage" check, which
with indications on whether the packet should pass these             20   involves collating the intermediate results to build a "final
bucket checks in series or in parallel. Parallel checks are used          result."
to implement the hierarchical rate-limiting scheme, with one                 FIG. 11 is a flow diagram of an embodiment of a method
bucket being designated for the most-specific classification,             for rate-limiting a traffic stream using a rate-limit hierarchy at
and subsequent buckets being shared among other packets                   a network node, according to an embodiment of the invention.
that are classified into more general classifications. FIG. 10       25   At block 1110, a packet is subjected to a first rate-limit check,
depicts an embodiment of a rule selection element that is                 the first rate- limit check corresponding to a first-level traffic
stored in a hardware-based rule selection table. The rule                 classification. At block 1120, the packet is subjected to a
selection element includes four rule-specific fields, one for             second rate-limit check and an infinity rate-limit check, the
each level in the traffic classification hierarchy. In the                second rate-limit check and the infinity rate-limit check cor-
embodiment of FIG. 10, each rule-specific field includes a           30   responding to a second level traffic classification. At block
"valid" field (1 bit), a "paired" field (1 bit), a "chained" field        1130, an automatic pass is granted to the packet from the
(1 bit), and a "RuleID" field (13 bits). Note, in this embodi-            infinity rate-limit check regardless of whether or not the
ment, 2 of the 13 bits are unused. The valid field identifies if          packet passes the second rate-limit check. At block 1140, an
the respective rule is valid (i.e., activated). The "paired" field        overall pass of the rate-limit hierarchy is granted if the packet
identifies whether the rule should be implicitly made serial         35   passes the first rate-limit check.
with (i.e., "paired" with) another rule, referred to herein as an            In an additional embodiment, when rate-limit rules are
implicit RuleID). In this embodiment, the implicit RuleID is              being applied to a packet, priority information related to a
identified by a fixed index offset. The "paired" field allows             rate-limit rule can be associated with the packet. That is, in an
more than one rate-limit rule to be identified by each rule-              embodiment, each rate-limit rule has a priority ranking with
specific field. The "chained" field identifies whether an iden-      40   respect to the other rate-limit rules in the hierarchy. The
tified rule should be linked with the next identified rule in the         priority rankings are used to dictate the selection of priority
rule selection element. For example, setting the "chained" bit            information to be associated with the packet. In an embodi-
for RuleIDp will cause RuleIDQ to behave as a single rate-                ment, the priority information to be associated with the packet
limit check (assuming the rule-specific fields are ordered as             is Rate-limiting Priority Information (RLPI). The priority
RuleIDp, RuleIDQ, RuleIDR, and RuleIDs)- Combined with               45   information that has been associated with the packet can be
the functionality of the paired field, two chained RuleIDs can            used in subsequent processing of the packet. For example, the
link up to four different rate-limit rules. In this embodiment,           priority information can be used in a Random Early Detection
when the chained bit is OFF, each RuleID is independently                 (RED) scheme.
checked in parallel. The "RuleID" field is a pointer that iden-              In an embodiment, the rate-limiting priority information is
tifies the location of the associated rule logic.                    50   a function of passed rate-limit checks. In another embodi-
    In an embodiment, the level-specific rule logic 930 carries           ment, the rate-limiting priority information is related to a
out checks of traffic using the rules selected by the rule                most specific, i.e., lowest level, traffic classification,
selection engine. In an embodiment, each level-specific rule                 It shall be appreciated that not all methods steps described
logic includes logic for each rule in the respective classifica-          must be performed, nor must they be performed in the order
tion level plus a processor that is generic to the respective        55   stated.
classification level. In another embodiment, each level-spe-                 Although specific embodiments of the invention have been
cific rule logic includes infinity rate-limit rule logic. The             described and illustrated, the invention is not to be limited to
infinity rate-limit rule logic operates infinity rate-limit rule          the specific forms or arrangements of parts as described and
checks according to the embodiments described with refer-                 illustrated herein. The invention is limited only by the claims.
ence to FIGS. 2-9. In an embodiment, the infinity rate-limit         60      What is claimed is:
rule logic is not implemented in the level-specific rule logic of            1. A method for rate-limiting a traffic stream using a rate-
the highest classification level. In yet another embodiment,              limit hierarchy at a network node comprising:
the level-specific rule logic includes a result logic which                  subjecting a packet to a first rate-limit check, said first
generates an intermediate result for the respective classifica-                 rate-limit check corresponding to a first-level traffic
tion level in response to rate-limit checks performed at the         65         classification;
respective classification level. As explained above, the CAM                 subjecting said packet to a second rate-limit check and an
"result" has a list of buckets to pass the packet through along                 infinity rate-limit check, said second rate-limit check
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      and said infinity rate-limit check corresponding to a                       selected by said rule selection engine, said first rate-limit
      second-level traffic classification;                                        rule corresponding to a first-level traffic classification,
   granting an automatic pass to said packet from said infinity                   and wherein said first level-specific rule logic deter-
      rate-limit check regardless of whether or not said packet                   mines an intermediate result for said packet at said first-
      passes said second rate-limit check; and                         5          level traffic classification in response to results of said
   granting an overall pass of said rate-limit hierarchy if said                  first rate-limit;
      packet passes said first rate-limit check, even if said                  second level-specific rule logic configured to subject said
      packet fails said second rate-limit check.                                  packet to a second rate-limit rule, said second rate limit
   2. The method of claim 1 further comprising granting an                        rule selected by said rule selection engine, said second
overall fail of said rate-limit hierarchy if said packet does not      10         rate-limit rule corresponding to a second-level traffic
pass said first rate-limit check.                                                 classification, wherein said second level-specific rule
   3. The method of claim 1 wherein said first rate-limit                         logic further comprises an infinity rate-limit rule logic,
check, said second rate-limit check, and said infinity rate-                      said infinity rate-limit rule logic granting an automatic
limit check are implemented in hardware.                                          pass to said packet in said second-level traffic classifi-
   4. The method of claim 3 wherein said first rate-limit              15         cation regardless of whether or not said packet passes
check, said second rate-limit check, and said infinity rate-                      said second rate-limit rule, and wherein said second
limit check are implemented in parallel.                                          level-specific rule logic determines an intermediate
   5. The method of claim 1 wherein said subjecting said                          result for said packet at said second-level traffic classi-
packet to said first rate-limit check and said subjecting said                    fication in response to results of said second rate-limit
packet to said second rate-limit check and said infinity rate-         20         rule and results of said infinity rate-limit rule logic; and
limit check are performed in parallel.                                         hierarchal rule logic configured to determine an overall
   6. The method of claim 1 wherein granting an overall pass                      result of said rate-limit hierarchy in response to interme-
of said rate-limit hierarchy includes allowing available band-                    diate results determined by said first and second level-
width to be borrowed from said first-level traffic classifica-                    specific rule logic.
tion.                                                                  25      14. The system of claim 13 wherein said level-specific rule
   7. The method of claim 1 wherein said first-level traffic                logic further comprises a logic for each rule pertaining to said
classification includes traffic of said second level traffic clas-          traffic classification and a processor that is generic to said
sification.                                                                 traffic classification.
   8. The method of claim 7 wherein said first-level traffic
                                                                               15. The system of claim 13 wherein said hierarchal rule
classification is a parent classification of said second-level         30
                                                                            logic grants an overall pass of said rate-limit hierarchy if said
traffic classification.                                                     intermediate result at said first level-specific rule logic is a
   9. The method of claim 7 wherein said first-level traffic
                                                                            pass.
classification is a parent classification of said second-level
                                                                               16. The system of claim 13 wherein said hierarchal rule
traffic classification and said second-level traffic classifica-
                                                                            logic grants an overall fail of said rate-limit hierarchy if said
tion is a child classification of said first-level traffic classifi-   35
                                                                            intermediate result at said first level-specific rule logic is a
cation.
                                                                            fail.
   10. The method of claim 1 further comprising assigning
rate-limiting priority information to said packet at each rate-                17. The system of claim 13 wherein said classification
limit check that said packet passes and using said rate-limit-              engine, said rule selection engine, said first level-specific rule
ing priority information to prioritize handling of said packet.        40
                                                                            logic, said second level-specific rule logic, and said hierarchal
   11. The method of claim 10 wherein said rate-limiting                    rule logic are embodied in hardware circuits.
priority information is a function of passed rate-limit checks.                18. The system of claim 13 wherein said first level-specific
   12. The method of claim 11 wherein said rate-limiting                    rule logic and said second level-specific rule logic are con-
priority information is related to a most specific traffic clas-            figured for parallel operation.
sification.                                                            45      19. The system of claim 13 wherein said first level-specific
   13. A system for rate- limiting a traffic stream using a rate-           rule logic relates to a classification level that is a parent of a
limit hierarchy at a network node comprising:                               classification level that is related to said second level-specific
   a classification engine configured to identify a traffic clas-           rule logic.
      sification of a packet;                                                  20. The system of claim 13 wherein said first level-specific
   a rule selection engine configured to identify rules that           50   rule logic and said second level-specific rule logic assign
      apply to said traffic classification identified by said clas-         rate-limiting priority information to packets as part of said
      sification engine;                                                    intermediate result.
   first level-specific rule logic configured to subject said
      packet to a first rate-limit rule, said first rate-limit rule                                 * * * * *
